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IN THE DISTRICT COURT OF THE UNITED STATES
FOR THE EASTERN DISTRICT OF MICHIGAN

JOHN PLAINTIFF,
Plaintiff,
vs. Case No. 2:20-cv-11718-GAD-DRG

WAYNE STATE UNIVERSITY, WAYNE
STATE UNIVERSITY SCHOOL OF
MEDICINE, NICOLINA CAMAJ, MARGIT
CHADWELL, MATTHEW JACKSON,
RICHARD S. BAKER, R. DARIN ELLIS,
in their individual and official
capacities, jointly and severally,

Defendants.

 

The Remote Zoom Videoconference Deposition of
NICOLINA CAMAJ,

Taken at 280 North Old Woodward Avenue,
Birmingham, Michigan,

Commencing at 10:04 a.m.,

Wednesday, October 6, 2021,

Before Leisa M. Pastor, CSR-3500, RPR, CRR.

 

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1 on what is marked in blue at the top, page 11 of 20, 1 a Stir within the Title IX community? Are you

2 and ask you or give you time to read that paragraph. 2 familiar with that?

3 A. Is this the one that I'm looking at? 3 MR. PORTER: Objection to form.

4 Q. Let's make sure it is. 4 A. I'mnot sure what you're referring to.

5 A. It starts with "As noted above..."? 5 BY MR. FLORES:

6 MR. FLORES: Bailey? 6 Q. Well, let's just skip that. Let's go to page 17 of

7 EXHIBIT TECHNICIAN: Yes. 7 this document, please, Bailey. And go down a little

8 THE WITNESS: Okay. 8 farther. Stop right there. Can you please read that

9 MR. FLORES: Yeah, so if you'll read that 9 paragraph to yourself, Ms. Camaj, the top paragraph?

10 last paragraph, and then it flips over to the next 10 A. The top?

11 page. Bailey, when she's ready, just move it to that 11 Q.. It starts with "When OCR finds...".

12 next page so she can read the remainder of that 12 A. Okay.

13 paragraph. 13 Q. Do you understand who the letter is referring to when

14 EXHIBIT TECHNICIAN: Yes. 14 it talks about "recipient"?

15 THE WITNESS: Okay, I'm ready. 15 A. I'm going to assume it's the -- the university.

16 Okay. 16 Q. That's correct. That's my understanding, as well.

17. BY MR. FLORES: 7 So in your words, can you tell me based on

18 Q. Okay. Does that refresh your recollection about the 18 this paragraph what one of the major penalties the OCR

19 required standard of evidence that the civil rights 19 can impose on a university if they fail to properly

20 office said was applicable in Title IX cases? 20 enforce Title IX?

21 A. Yes. 21 MR. PORTER: Objection, form.

22 Q. And your testimony earlier was that at Wayne State or, 22 A. Well, it says it right there in the last sentence,

23 rather, at Loyola, the standard of evidence was a 23 "funding."

24 preponderance of the evidence; is that correct? 24 BY MR. FLORES:

25 A. Yes. 25 Q. Okay. Did you ever receive any training once you
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1 Q. What was the standard of evidence when you arrived at 1 became a Title IX investigator as to the consequences

2 Wayne State Title IX cases? 2 of not performing your job properly?

3 MR. PORTER: Objection, foundation. 3 MR. PORTER: Objection, form.

4 BY MR. FLORES: 4 A. Not specifically other than to say, you know, but we

5 Q. Do you -- I'm sorry, let me rephrase it. When you 5 are aware that we must follow proceedings because they

6 first arrived at Wayne State, did you take time to 6 will take funding away, so that’s something that we

7 familiarize yourself with the Title IX process as it 7 were aware of, that | was aware of.

8 was carried out at Wayne State? 8 BY MR. FLORES:

9 A. Iwill say that I was not a Title IX investigator my 9 Q. Allright, thank you.

10 first year at Wayne State, and of course, | 10 MR. FLORES: All right, you can take that

11 familiarized myself as a part of our training in being 11 document down, Bailey.

12 a responsible employee, and it was a preponderance of 12 BY MR. FLORES:

13 evidence. 13 Q. Now, do you remember whether or not you disclosed to

14 Q. So from 2018 until sometime in 2019, you were not a 14 Wayne State that you were sued in federal court, you

15 Title IX investigator? 15 were a named defendant for a period of time while you

16 A. Correct. 16 were at Loyola?

17 Q. What was your title? 17 MR. PORTER: I'm sorry, can you repeat

18 A. Associate director and student conduct officer. 18 the -- | didn't catch the first part of that question.

19 Q. And how did the responsibilities of that job differ 19 BY MR. FLORES:

20 from a Title IX investigator? 20 Q. Did you disclose to Wayne State when you were being

21 A. Well, I'm not responsible to hear Title IX cases or 21 interviewed that you had been sued in federal court

22 investigate them. 22 for violating Title IX?

23 Q. One of the reasons that -- or, rather, are you aware 23 A. No, because | was not a part -- | never participated

24 that when the -- that the Department of Civil -- the 24 in the proceedings.

25 Office of Civil Rights’ Dear Colleague letter created 25 Q. But you knew that you were a named party to that

 

 

 

 

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1 lawsuit though? 1 you would during your first year not have authority to
2 A. Tobe honest, | don't recall being -- | really don't 2 investigate?
3 remember. 3 A. I wouldn't investigate anything Title IX because I'm
4 Q. Okay. That's fine, thank you. 4 not an investigator at that time.
5 A. Yeah. 5 Q. Soany--
6 Q. During your first year at Wayne State, what were your 6 A. If anything -- if | hear about a Title IX matter, |
7 primary duties on a daily basis? 7 would forward it on to the director because | didn't
8 A. Okay. Sol was serving as a student conduct officer. 8 serve in that capacity.
9 | also supervised our office staff along with 9 Q. Were there any significant differences in how student
10 Dr. Strauss. We also in our office received CARE 10 conduct cases were handled at Loyola and Wayne State?
11 reports from the community about concerns they have 11 MR. PORTER: Objection, form.
12 about students, so | served as what you would call a 12 A. InLoyola, I -- the students didn't have the
13 CARE officer and respond and contact students and 13 opportunity to accept or deny the addition of a
14 offer resources, So | would serve in both of those 14 hearing officer, whereas with the Student Code of
15 roles. | would also offer trainings about academic 15 Conduct, they have that opportunity, so that's one
16 misconduct process, and so that was the extent, and 16 difference.
17 meet with other departments to train their faculty 17 And of course, language is different, but
18 about the procedures and their responsibility in the 18 you know, every code's language was a bit different.
19 process. 19 Q. Did you receive any training when you first arrived at
20 Q. So you seem to be making a distinction between student 20 Wayne State on the Wayne State Student Code of
21 conduct offenses and Title IX offenses. Can you 21 Conduct?
22 explain what the difference is? 22 A. I had meetings with the previous person in that
23 A. Well, Title IX, if you violate a Title IX pol -- it's 23 position.
24 in the code. But what I'm making the distinction on 24 Q. Did you receive materials or binders or any kind of
25 is the types of responses in terms of investigation 25 other documentation about what the responsibilities
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1 because Title IX has specific procedures to follow 1 were for someone assuming your position from --
2 that differ with my day-to-day job. So when I meet 2 A. We had -- you have the student code of conduct that
3 with students for concerns, it differs. I don't have 3 tells you what is expected of you.
4 any of the same responsibilities that | would to 4 Q. Was there any -- I'm sorry.
5 Title IX procedures. 5 A. Another --
6 Q. Sois it fair to say that you might be investigating 6 Q. Was there any other material? Was there any other
7 the exact same type of case, but sometimes it is 7 material?
8 covered by Title IX and sometimes it isn't? 8 A. Sure, sure. Materials in terms of, you know, sample
9 A. No. 9 letters that you would normally send out to students
10 MR. PORTER: Objection, form. 10 or sample, what do you call it, outcome letters, like,
11 A. No, that's not what I'm saying. 11 what I'm referring to, when a decision is made to make
12 BY MR. FLORES: 12 sure you include all the information for the student
13 Q. Okay. Give me an example of a typical student conduct 13 when they receive your letter about your outcome. So
14 offense that you would investigate. 14 I got to see what was sent out before.
15 A. If there was a fight between students and somebody 15 Q. AndI may have cut you off. Was there an additional
16 filed charges alleging that one or the other violated 16 manual or policy manual that also was included in the
17 the code, and a typical charge in that code might be 17 material that you were provided?
18 under the section 4.3 or 4.6 of our student code, so 18 A. Everything is online, so everything there is to read
19 it could be physical or verbal threats or abuse, or 19 about our policies and procedures is all available
20 you could file a 4.6, which is disorderly behavior, 20 online.
21 and so | could hear that case and make a 21 Q. Have you had a chance to read the complaint filed in
22 determination, and then the student, in turn, gets to 22 this case?
23 accept or deny my determination. So that's one 23 A. No.
24 example. 24 Q. | want to talk a little bit about kind of generic
25 Q. Okay. And is -- can you describe a Title IX case that 25 investigation directives and policies that you may or

 

 

 

 

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1 may not have had at Wayne State just to get an idea as 1 a nonacademic misconduct form that's submitted, that's

2 to what parameters you were working within during that 2 typically indicative of someone who wants to file

3 first year. Would you agree or disagree with the 3 charges against a student because they believe they

4 statement that every investigation is unique? 4 violated the code of conduct, and even then, | clarify

5 MR. PORTER: Objection, form. 5 the charges they selected because they're not all

6 A. Every investigation can be unique. 6 experts in the code, and so sometimes they select a

7 BY MR. FLORES: 7 charge that's not to relevant to what they're sharing

8 Q. Okay. You're making a distinction different from my 8 in terms of the information they're concerned about,

9 statement. Can you explain that? 9 and then I would clarify that, and so it becomes a

10 A. You may have similarities in investigations, so in a 10 code of conduct, that's how | would proceed.

11 lot of ways, they could be similar, and then in other 11 I would just always reply to the person

12 ways, it could be unique just on virtue of different 12 _ filing the report to get a better understanding of the

13 human beings participating. 13 complaint so | know, you know, which way to proceed.

14 Q. Okay. Would you agree that it's important to have a 14 Q. So once you've had a chance to talk to the reporter

15 strategy when starting an investigation? 15 and provide that reporter with some additional

16 A. I would say yeah, you want to strategize, sure, 16 information, what's the next step?

17 mm-hmm. 17 A. Well, if it's not a conduct charge, it depends on what

18 Q. And would you agree that an experienced and 18 the desired outcome is. Is it coming from a faculty

19 well-trained investigator typically has a well 19 member? Is it coming from a student? Is it coming

20 developed strategy that he or she uses to make sure 20 from staff? It could be anything that we -- we get

21 that all aspects of the case are covered? 21 all kinds of reports, so we really have to assess what

22 MR. PORTER: Objection, foundation. Are 22 are we following up with. Are we following up with

23 you asking her about her Title IX investigation 23 the student's concerning behavior that needs to stop?

24 duties -- 24 Are we following up with a simple question? It just

25 THE WITNESS: Yeah. 25 really varies.

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1 MR. PORTER: -- or her role as Student Code 1 Q. Let's take a complaint from one student against

2 of Conduct -- 2 another. You had received a complaint, you've now

3 MR. FLORES: Let me rephrase. 3 responded to the reporter to try and narrow and

4 BY MR. FLORES: 4 clarify what they're complaining about, and after that

5 Q. With respect to title -- to your responsibilities as a 5 takes place, what's the next step for you?

6 Title IX investigator, which you assumed in your 6 A. Sure. If it's a -- if it's a student who's -- let's

7 second year, would you agree that a well developed 7 Say it's a roommate or someone like that or they're

8 strategy is necessary in order to make sure all of the 8 concerned about a friend's behavior and they would

9 bases are covered? 9 like us to just have a conversation with the student

10 A. Yeah. 10 about their concerning behavior and then we will do

11 Q. Soasa student conduct officer, you have different 11 that, we'll follow up with that other student and have

12 responsibilities, but you're also conducting 12 a conversation.

13 investigations; is that correct? 13 If it's an issue where they would like to

14 A. Mm-hmm. 14 file charges against the roommate because they have

15 Q. Can you tell me just generically when you receive a 15 been affected and they thought that the student

16 complaint, what was your -- typically your first 16 violated the policy, then | would proceed by inviting

17 action after receiving the complaint? 17 the student to meet with me and deal with it ina

18 A. It depends on how I received the complaint. Is it via 18 conduct matter.

19 email, is it via phone call, is it via the forms we 19 Q. How would you reach out to the student that is accused

20 have online and which form is used? There's a 20 in a student conduct case?

21 complaint form, there's a nonacademic misconduct form, 21 A. Sending them a letter.

22 and there's an academic misconduct form, so depending 22 Q. And is that -- that's not snail mail, that's an

23 on the form and what's written, | would respond by 23 electronic letter; is that correct?

24 writing to the reporter and ask them to specify what 24 A. We transitioned to both. When | first started at

25 their concerns are, and if it's a -- where -- if it's 25 Wayne State, we would send letters via mail, and then
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1 we transitioned to electronically, and we use our 1 it will be, obviously, on Teams video or Zoom

2 Maxient software system to send students letters to 2 depending on what the student has at their desktop.

3 invite them to meetings with us, both concerning 3 So during the first year that you were at Wayne State,

4 behavior meetings, complaint meetings, and also 4 you would meet in your office with any student that

5 conduct meetings. They all get the letter from 5 was coming at your invitation?

6 Maxient software. 6 Right.

7 Q. Are there any time limitations or time recommendations 7 And what happens if a student declines your

8 in order to -- from the time that you get a complaint 8 invitation, says | don't want to meet with you?

9 until the time that you reach out to the accused 9 It depends on what I'm asking them to meet for. You

10 student? 10 know, when | reach out to students to offer them

11 A. Not with concerning behavior or -- and if a 11 resources and support as -- in my role as a care

12 complaint -- if it's a conduct matter, we try to be -- 12 officer, that's fine, they don't have to meet with me.

13 we try to expedite matters. The only time that we 13 If it's a behavioral concern where I'm

14 cannot be, you know, timely is if we have taken 14 requesting them to meet with me and it's something

15 vacation days or typically in the beginning of the 15 that the dean of students is aware of, | will let him

16 school year when we have more cases, it takes up a lot 16 know that, hey, this student hasn't met with me, and

17 of our time, so it could be delayed by a week, but 17 then, and then he will make a determination if he will

18 it's always our intention to respond quickly. So! 18 meet with them and follow up. And if a student

19 know myself personally, | never have the intention to 19 doesn't meet with me for conduct, it goes over to the

20 delay, and | can only be impacted if I've taken time 20 dean, and that's on 11 -- in section 11, it tells you

21 away or I have trainings to attend to that keep me out 21 that if a student fails to show up, then the conduct

22 of the office. 22 officer needs to refer the case to the dean of

23 Q. And is there typically a timeframe that you gave to 23 students. So anyone that doesn't meet with me, |

24 the accused in terms of when they need to respond back 24 notify the dean of students to let him know in any

25 with you? 25 case.

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1 A. [typically don't give a timeframe in terms of -- it 1 Q. When you meet with a student, are you in a separate

2 depends on is it my outcome letter that they need to 2 room, or are you out in the open with the student?

3 respond to or my -- to meet with me after I assign 3 What are the circumstances of that, the physical

4 them a meeting time? I'm not sure what you're asking. 4 circumstances of that meeting?

5 Q. Yeah, I'm still at the requesting a meeting with that 5 A. Sure. The dean of students has an office suite, and

6 student. 6 inside that suite, | have my own office. The students

7 A. Mm-hmm. 7 are positioned by the door, and I'm positioned on the

8 Q. So-- 8 far wall behind a desk, and I allow the student to

9 A. Yeah, | will -- | will select the date, and they're 9 keep the door open or to close the door depending on

10 told if they're not able to make that meeting time, 10 their comfortability.

11 they need to contact me within 48 hours, and | will 11. Q. And what's your -- how do you typically present

12 reschedule our meeting. And I'm very flexible with 12 materials in a student conduct situation to the

13 that. 13 student that's come in to -- for this meeting?

14 Q. Now-- 14 A. Well, the student code tells the student, and | know a

15 A. Especially if a student has to go on vacation or 15 lot of students don't read the code, it tells them

16 something, | can meet with them later on. 16 that if you wanted materials presented to you prior to

17 Q. Okay. So there's flexibility -- 17 your meeting, you can contact the conduct officer, and

18 A. Yes. 18 that will be supplied to you, obviously redacted if

19 Q. -- inthe timing of -- 19 there's any information that needs to be redacted, and

20 A. Right. 20 then during my meeting, | let the -- well, before

21 Q. -- meeting with you? 21 that, in the letter that's sent to them, they are

22 A. Right. 22 notified of the specific charge, so they will be told,

23 Q. And where does the meeting with you typically take 23 you know, this is the violation that's alleged to have

24 place? 24 occurred, 4.6, 4.3, and we give them the specifics of

25 A. Typically in my office, and then when we are remote, 25 the account, about two or three sentences about what
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1 A. Yeah, I'm the conduct officer, yep. That would have 1 they assigned the complaint to you for investigation?

2 been me. 2 A. There was a time where I| was informed that I should be

3 Q. Do you know who attended on behalf of the director of 3 the person to speak to the complainant and to speak to

4 counseling and psychological services? 4 the respondent.

5 A. Yeah, Jeff. 5 Q. Was any other conduct officer or person in a similar

6 Q. Do you know a last name? 6 position to you assigned to work with you on this

7 A. Wecan submit -- Jeff Kuentzel. 7 case?

8 Q. Okay. Do you know who attended on behalf of the 8 A. No.

9 director of student disability services? 9 Q. And was that standard operating procedure because of

10 A. Randie Kruman. 10 the size or the nature of the complaint?

11. Q. Do you know who attended on behalf of the office of 11 A. I'mthe only student conduct officer at the

12 general counsel? 12 university.

13 A. Would have been Linda Galante at that time. 13 Q. But there are other investigators that are part of

14 Q. Do you know who attended on behalf of the director of 14 your office; is that correct?

15 the office of housing and residential life? 15 A. The dean of students office? No. There's nobody with

16 A. I think -- | don't remember her last name, but Janine. 16 the title called "investigator."

17 It may have been Janine. Janine was leaving the 17 Q. So there are no other -- other than yourself, there

18 institution, so | don't remember the date she left, 18 was nobody else, unless it was going to be referred to

19 and then they were hiring, so I -- it would have been 19 the police department, who could do any kind of

20 her if there was somebody. 20 investigation; is that correct?

21 Q. And do you know who attended on behalf of the crime 21 MR. PORTER: Objection. Are you referring

22 prevention section of the police department? 22 to just this specific case? Or any case.

23 A. Yes, Lieutenant Scott. 23 MR. FLORES: This specific case.

24 Q. Do you remember during that meeting any discussion of 24 A. As far as | know, the decision was that | should be

25 information that had been provided by Dean Chadwell? 25 the person to deal with the case.

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1 MR. PORTER: Objection. Instruct the 1 BY MR. FLORES:

2 witness not to answer if it requires you to divulge 2 Q. And who made that decision?

3 communications that are protected by the 3 MR. PORTER: | would object and instruct

4 attorney-client privilege. To the extent that it does 4 the witness not to answer if it requires you to

5 not, you are free to answer. 5 divulge attorney-client privileged communications, but

6 THE WITNESS: I'm going reserve my -- not 6 to the extent that it doesn't, you are free to answer.

7 answer. 7 +A. Iwill just say it was determined that I should be the

8 BY MR. FLORES: 8 one to meet with the students.

9 Q. I'msorry? 9 BY MR. FLORES:

10 A. I'm not going to answer. 10 Q. Were you given a timetable in which to do that?

11 MR. PORTER: | think based on my 11 A. No, | wasn't given any specifics of a timetable other

12 instruction, she’s decided that she cannot answer that 12 than to typically do what we normally do and do our

13 question? 13 best to schedule meetings and contact the -- both

14 MR. FLORES: And, obviously, I'm not 14 parties and do our best depending on our schedule.

15 agreeing to that claim of privilege, David. We'll 15 Q. Did you handle that matter in the same way that you

16 deal with it later. 16 handle other investigations?

17 BY MR. FLORES: 17 MR. PORTER: Objection, form.

18 Q. Do you know whether or not any discussion took place 18 A. I'mnot sure | understand your question.

19 involving information received from Loretta Robichaud? 19 BY MR. FLORES:

20 A. I--I don't recall. 20 Q. Had you ever received direction to handle a particular

21 Q. Did you make any record of having reviewed the 21 conduct investigation at a previous meeting of the

22 complaint involving my client at the BIT, any notes, 22 BIT?

23 any other writings? 23 A. Well, at that time, | was new to Wayne State, so |

24 A. Me personally, no. 24 would not have been asked to because it was my first,

25 Q. And as a result of the BIT, did there come a time that 25 you know, because of the nature of me, you know,
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1 starting that semester for the first time. 1 A. No.

2 Q. Okay. Were you given any guidance by the BIT in terms 2 Q. And after getting the -- after having the conversation

3 of how you should handle this matter? 3 with the complainant and getting copies of text

4 MR. PORTER: Objection. Based on 4 messages, did you do anything to corroborate or

5 attorney-client privilege, | would instruct you not to 5 disprove any of the complainant's account?

6 answer if it requires to you divulge attorney-client 6 A. Just confirming the student's status, you know, that,

7 privileged communications, but to the extent that it 7 you know, like what she was studying and confirming

8 doesn't, you are, obviously, free to answer. 8 she, obviously, that she was a student, but no.

9 BY MR. FLORES: 9 Q. Atthe time that you spoke with her in October of

10 Q. Can you answer that question? 10 2018, was she still a student at WSU?

11 A. I'mnot going to comment, no. 11 A. No--

12 MR. FLORES: For the record, I'm taking an 12 MR. PORTER: Objection, foundation. Did

13 exception to that claim of privilege. 13 you say October or November?

14 BY MR. FLORES: 14 MR. FLORES: | said October of 2018.

15 Q. After you received, read, and discussed the complaint 15 A. | believe she was not a student at the time.

16 at the meeting, did you receive any other instructions 16 BY MR. FLORES:

17 from anyone else after the meeting as to how to handle 17. Q. Do you know how long -- did you come to learn how long

18 the investigation? 18 she attended Wayne State?

19 A. No. I was just asked to meet with both students and 19 A. I don'trecall off the top of my head, but I recall

20 gather the statements and forward them onward and not 20 possibly that she would have left Wayne State soon

21 to make a determination in the case. 21 after filing the complaint. | mean graduated.

22 Q. Okay. | just want to make sure that | understand. 22 Q. She started as a freshman in 2016.

23 Your responsibility was to talk with both parties, 23 A. Okay.

24 correct? 24 Q. I'mjust giving you that information. Typically, she

25 A. Mm-hmm. 25 would have graduated after four years, which would

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1 Q. Could you answer just "yes" or "no" for the record? 1 have placed it 2020.

2 A. Oh, sorry, yes. Sorry, yes. 2 A. I should correct myself, | moved on from the

3 Q. And once you'd taken their statements to submit a 3 university.

4 report? 4 Q. Oh, so your departure?

5 A. Yeah. The -- not only the statements but also if 5 A. No, no, I'm saying her departure from the university.

6 there's any evidence for them to share and to document 6 So she was not a student at the time.

7 that and submit it forward. 7 Q. Okay. So at the time she made the complaint, she was

8 Q. But you were told not to make a determination as to 8 not a student?

9 who was right or wrong or -- 9 A. Right.

10 A. Right. 10 Q. And you don't know, as you're sitting here today, when

11 Q. -- who was truthful or not truthful? 11 she was -- when she left the school after starting in

12 A. Right, | was not to make a determination; that was not 12 2016?

13 my role in this matter. 13 A. I would have to look at my records that's -- to gather

14 Q. Okay. And then who did you forward your report to? 14 that information.

15 A. So the final report was emailed to Margit Chadwell, 15 Q. Atthe time that you spoke with the complainant, do

16 Linda Galante, and also the respondent. 16 you know where she was located?

17 Q. Ms. Galante was general counsel? 17 A. Yeah, she was out of state.

18 A. Yes. 18 Q. Do you know what state she was in?

19 Q. And the -- I'm sorry, so it was to Dean Chadwell, to 19 A. I believe, if | recall, I'd have to check, but | think

20 general counsel's office, and then who else? 20 she said she may have been in Colorado.

21 A. The respondent. 21 Q. And--

22 Q. So that would have been my client? 22 A. But! would have to check.

23 A. Yes. 23 Q. I'msorry, could you repeat that answer for the

24 Q. Were you directed by anyone not to investigate the 24 record?

25 case beyond taking statements? 25 A. Yeah, | would have to check because | don't remember,
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1 it was so long ago, | would just have to check, but | 1 INTRODUCED FOR DISCUSSION:
2 know that she was out of state. 2 EXHIBIT F
3 Q. And at the time that you interviewed her by telephone, 3 1:11 p.m.
4 did the school have access to a videoconference? 4 BY MR. FLORES:
5 A. It wasn't something we used, and so | didn't use 5 Q. And if you would go to the second page. Scroll down
6 videoconferencing with her, with the complainant. 6 to the bottom half.
7 Q. So you were not able to see any facial expressions or 7 +A. Yep, that's from Maxient. That's automatic messaging
8 who else might have been in the room with her while 8 from Maxient.
9 she was talking to you; all of that information was 9 Q. And your letter to them triggers that because you send
10 not available to you? 10 it through the Maxient system?
11 A. Well, I didn't see her on video. I just spoke to her 11 A. Correct, so anything coming out of the dean of
12 over the phone. 12 students office. It lets the student know that it's
13. Q. So you did not know if there was anyone in the room 13 coming from the dean of students office.
14 with her while you were talking with her? 14 Q. Okay. Why don't you just leave that up there for just
15 A. Yeah, | wouldn't have been able to see. 15 a second so | can ask some related questions.
16 Q. And you didn't -- did you ask her whether or not there 16 Now that email from the -- via Maxient goes
17 was anyone there when she was talking to you? 17 to the student's student email address; is that
18 A. I don't recall asking her because the meeting was just 18 correct?
19 between me and her, but | don't remember her saying 19 A. Correct.
20 that there was anybody else in the room. | believe 20 Q. And does it come with a flag or some type of attention
21 she was the only one on the phone at the time, and | 21 grabbing symbol to let the student know that they've
22 didn't hear anyone else commenting or making noises 22 got an important piece of correspondence from the
23 during our conversation. 23 dean's office?
24 Q. Okay. How -- let's go back and talk now about your 24 A. Itjust comes to their email. As far as | know, it
25 contact with my client. 25 comes to their email.
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1 A. Mm-hmm. 1 Q. And it looks the same as any other email?
2 Q. Normally, you said you would have an electronic 2 A. Kt will say it’s from Maxient software. It will say
3 message sent to the student informing them that there 3 Maxient in the subject header.
4 was a letter for them; is that correct? 4 Q. Butit's not flagged as "Attention" or flagged as
5 A. No. 5 "Important" or "Immediate Request"?
6 Q. How would you normally -- 6 A. No, it’s --
7 A. lwould send them a letter via Maxient software 7 Q. There's no --
8 inviting them to meet with me. 8 (Attorney and witness speak over each
9 Q. Inthis particular case, however, you sent to my 9 other.)
10 client a note from the dean of students informing him 10 Q. -- attached to it is my question.
11 that there was a letter waiting for him from the dean 11 A. Yeah, Maxient doesn't give you the option to put an
12 of students; do you remember that? 12 alert on the email --
13 A. No. 13 Q. Okay.
14 Q. Just give me a moment. 14 A. --to, like, ping a student, or something like that,
15 A. I-- yeah. That's probably electronic information 15 that would alert them in the email, but it will say
16 coming from Maxient letting the student know there's 16 the subject -- that's the subject header, "Official
17 an electronic letter from the dean of students office 17 Correspondence From the Dean of Students Office."
18 that they have to sign into. Once they sign in with 18 MR. FLORES: Okay. And if you would,
19 their banner ID, they can open the letter that | would 19 Bailey, put up Exhibit G.
20 have sent electronically. So | think that's what you 20 EXHIBIT TECHNICIAN: One moment.
21 might be referring to is the automated message that 21 INTRODUCED FOR DISCUSSION:
22 all students get from me via Maxient software. 22 EXHIBIT G
23 MR. FLORES: Okay. Let me just -- Bailey, 23 1:14 p.m.
24 if you would put on the screen Exhibit F, please. 24 MR. FLORES: Okay. If you could just show
25 EXHIBIT TECHNICIAN: One moment. 25 that, just scroll through that slowly. Just stop

 

 

 

 

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1 at -- yeah, put the text in the middle. 1 the Code of Conduct term, and so if I'm informed that

2 BY MR. FLORES: 2 someone on campus -- or has alleged to have -- excuse

3 Q. Ms. Camaj, that is the letter that you wrote to 3 me. If somebody on campus is alleged to have violated

4 Anthony? 4 the Code of Conduct, and somebody wants to file

5 A. Mm-hmm. Yes, sorry, | should say yes. 5 charges, they can contact our office and file charges.

6 Q. And what was the stated purpose for the meeting? 6 In this case, no charges were filed.

7 A. To discuss concerns reported about alleged behavior on 7 Q. So your testimony is that Jane Doe's complaint was not

8 Wayne State University's campus. 8 the filing of a charge against my client?

9 Q. And at the time that you sent that, did you also 9 A. Right. If it was -- if it was, it would have been

10 include a statement of the charges for the complaint? 10 indicated in the letter.

11 A. There were no charges filed in this case, so | 11 Q. And what additional step would the complainant have to

12 wouldn't have included charges because there was no 12 have taken to turn her complaint into a charge?

13 charges filed. 13 A. Notify me that she wanted to pursue a charge. They

14 Q. Did you provide my client with a statement of why he 14 just -- anybody who wants to file a charge just needs

15 was being -- the purpose for the fact-finding 15 to let me know that that is what they intend -- that

16 conference? 16 that is what they want.

17 A. No, because I'm not required to, and -- and I just 17 MR. FLORES: Bailey, if you would please

18 included in there | wanted to discuss reported 18 publish Exhibit E.

19 concerns. 19 EXHIBIT TECHNICIAN: One moment.

20 Q. So you're telling me that under the Student Code of 20 INTRODUCED FOR DISCUSSION:

21 Conduct, you had no responsibility to advise him of 21 EXHIBIT E

22 what he was going to be meeting with you about? 22 1:19 p.m.

23 A. This is not a Student Code of Conduct case because no 23 BY MR. FLORES:

24 charges were filed in the matter, in this matter, I 24 Q. And goto page 3. Do you see that paragraph that

25 should say. 25 starts with “Complaint” --

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1 Q. Okay. Even though that the letter says it's a -- the 1 A. Mm-hmm.

2 matter involves a violation of the Student Code of 2 Q. -- Ms. Camaj?

3 Conduct? 3 A. Mm-hmm.

4 A. It says it may, and the information that was in the 4 Q. Okay. And then goes to the next page and stop there.

5 complaint could have resulted in such and that's the 5 Do you see what the -- there's a question

6 reason | wanted to discuss this concerning behavior. 6 there that reads "What is the outcome you are

7 It didn't say it did, it said may have. 7 requesting?"

8 Q. Well, this just seems to be an effort to make sure 8 A. Mm-hmm.

9 that he had no idea why he was going to meet with you. 9 Q. Could you read that to yourself and let me know when

10 MR. PORTER: Objection, form. 10 you're done?

11 A. That's not the intention. It's to get the student in 11 A. Okay.

12 my office to discuss concerning behaviors that have 12 Q. And so is it your testimony today that in spite of the

13 been reported to our office, and that's typically what 13 fact that she asked to have my client held accountable

14 I do. I'll invite students to meet with me to discuss 14 and that he be reprimanded, that this is not a request

15 concerning behaviors, and then I let them know the 15 for him to be charged with having harassed her; is

16 information when they meet with me, and it's not a 16 that your testimony?

7 conduct case, so I'm not required to share anything 17 A. My testimony is that charges were not filed with me.

18 further. 18 Q. Were they filed with anyone else?

19 BY MR. FLORES: 19 A. Not at the time, nope. Nobody -- no one filed charges

20 Q. Why wasn this a conduct case? 20 against your client.

21 A. Because no charges were filed. 21 Q. Did there come a time that charges were filed against

22 Q. When you say "charge," can you define how you're using 22 my client?

23 that term? 23 A. No, and if charges were filed, your client would have

24 A. Sure. In the Code of Conduct, it indicates that 24 been notified.

25 charges can be filed against the student, and that's 25 Q. Sois it your testimony that the complainant did not
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1 selected was the internet charge, and then also -- 1 Q. Isit described, to your knowledge, in any policy

2 misuse of internet, and then also disorderly behavior 2 statement or regulation or rule that the university

3 could be one. And then if there were threats made in 3 has published?

4 messaging, because at the time of the complaint, | 4 A. Not that I'm aware of.

5 didn't have the text messages, so if there were 5 Q. So when you hear the term "concerning behavior," will

6 threatening messages being shared, you could also 6 you give me your definition of that phrase?

7 select section 4.3. So it really depends on what the 7 A. Yeah. You might be doing something that's concerning

8 specifics of the charges are that would be brought 8 to the greater community, it could be concerning to

9 forward by the complainant. 9 your person, like maybe you are hurting yourself

10 Q. Thank you. Now in the criminal law, there are charges 10 individually, you are hurting others on campus, or

11 which are very specific, and there are charges which 11 somehow your behavior is impacting others, it could

12 are general, so you could be charged with disorderly 12 be -- it's very broad, so just concerning behaviors

13 conduct, which incorporates a wide variety of 13 that could be an issue that we want to, you know,

14 material. 14 figure out what's going on. So it's very broad.

15 MR. FLORES: You can remove Exhibit F. 15 Q. Sodid there come a time where my client finally had a

16 BY MR. FLORES: 16 chance to meet with you?

17 Q. So you have one charge, disorderly conduct. It covers 17 A. Yes, he did meet with me.

18 a lot of different types of behaviors, but it's just 18 Q. And do you remember what date that was?

19 one charge. You could also charge somebody with grand 19 A. It would have been in my report that | would have

20 larceny auto, which is a fairly specific charge 20 indicated. | don't recall off the top of my head, but

21 because you have to steel a car, it's what you would 21 it would be in the documents.

22 expect. 22 Q. Ifl told you it was November 30th, would that seem

23 Charges that are listed in section 4 of the 23 right?

24 Student Code of Conduct, those are set forth with some 24 A. Possibly, yes, yes, that makes sense.

25 specificity; are they not? 25 Q. Soright near the end of the month?

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1 A. Sure. They're set forth to, you know, to reflect what 1 A. Mm-hmm.

2 could be possible campus violations. 2 Q. And you had received this complaint sometime between

3 Q. And they include a definition? 3 November -- October 29th, when it was made, and

4 A. Right. 4 November 15th, when you talked to her, when you

5 Q. Inthis case, you're telling me there was no charge 5 attended the behavioral intervention team meeting, so

6 that was filed because this was a conduct, an 6 someplace between the 29th of October and November

7 investigation into conduct, not an -- not an 7 15th?

8 investigation into a specific charge; is that right? 8 A. Yeah.

9 MR. PORTER: Objection, form. It misstates 9 Q. So somewhere two weeks later, two and a half weeks

10 her prior testimony. 10 later, you finally met with my client?

11 BY MR. FLORES: 11 A. Right, yes.

12 Q. And what was your -- 12 Q. And you met with him alone?

13 A. In my letter, it specifies that | was going to be 13 A. Yes.

14 meeting with the respondent about some concerning 14 Q. And you met with him in your office?

15 behavior that was reported to our office. So it was 15 A. Yes.

16 about -- 16 Q. Do you remember who started the conversation?

17 Q. Concerning -- 17 A. Idid.

18 A. Concerning behavior, correct, that was reported to our 18 Q. And can you tell me what, if anything, you said to

19 office that we needed to get more information on. 19 him’?

20 Q. Okay. Thank you for refreshing my recollection. That 20 A. Yes, the nature of the beginning of my conversation

21 was the phrase | was searching for, "concerning 21 was to inform him that | will be speaking to him about

22 behavior." 22 concerning behavior and that this was not a conduct

23 Is that defined anywhere in the Student 23 matter that | would be making a determination on and

24 Code of Conduct? 24 that | would be taking a statement based on concerns |

25 A. No, because, again, it's not a charge. 25 have gotten from a complainant, the complainant, and
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1 that | would be forwarding the case to the medical 1 BY MR. FLORES:
2 school, and the other piece that | said was I'm trying 2 Q. But was it because you just were inexperienced and
3 to remember just going down the line. 3 they didn't think you could handle that?
4 So after | informed him of what was going 4 A. That was not my directive. It's not about my
5 to happen, | never shut the door, so I always let the 5 experience being inexperienced in that -- that's not
6 student shut the door, and if the student definitely 6 for me to make a determination on. That was not what
7 needs a break, | let them know, but that was the 7 | was asked to do.
8 beginning of our conversation in terms of me asking 8 Q. The head of the behavioral intervention team was the
9 questions, and then we began by me asking him what -- 9 person who gave you your assignment; is that right?
10 does he know the respondent, and what's the nature of 10 MR. PORTER: Objection based on
11 their relationship? 11 attorney-client privilege. If it requires you to
12 Q. Inacase where you're looking at concerning behavior 12 divulge attorney-client communications, I'd ask you
13 rather than a charge, even with respect to just 13 not to answer.
14 concerning behavior, did you have authority at that 14 A. Okay. | will not answer.
15 time to simply address the matter just at your level, 15 BY MR. FLORES:
16 or was this case different and you had to send it up 16 Q. I'm taking an exception to that.
17 to Dean Chadwell? 17 Had you ever sent any of your work directly
18 A. It's not what I was asked to do. | was asked to -- 18 to Dean Chadwell?
19 Q. Okay -- 19 A. At that time, no.
20 (Attorney and witness speak over each 20 Q. Had you ever sent any of your work to anyone other
21 other.) 21 than Dean Strauss as of that date?
22 A. -- right, so | -- | would not have been able to exert 22 A. As of that date, | don't -- | don't remember. But
23 any authority over this matter. 23 | -- because it was so early on in my time at Wayne
24 Q. Soin this particular case, you were simply an 24 State, | don't know that I had any other cases | would
25 information provider and an information collector, and 25 have been assigning to anybody, | mean to forward to
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1 then you were sending that forward to your boss who 1 anybody else at the time.
2 was Dean Chadwell? 2 Q. Okay. Are you familiar with the Office of the
3 A. Dean Chadwell's not my boss. 3 Ombudsman?
4 Q. I'msorry, Dean Strauss? 4 A. Yes, | am.
5 A. Iwas moving it forward to Dr. Chadwell and to Linda 5 Q. And what does the ombudsman's office -- what are they
6 Galante as requested. 6 responsible for?
7 Q. So you didn't send it to Dean Strauss? 7 A. So one of their main purposes, and we include the
8 A. No. 8 ombud's letter in our correspondence to students, to
9 Q. Okay. That's a little bit out of the normal ordinary 9 provide them information about the policies and
10 course; is that right? 10 procedures at Wayne State University. So they are not
11 A. Well, I typically don't send my outcomes in conduct 11 ones to make decisions on cases, like in a conduct
12 cases to Dr. Strauss. The code says that I do not 12 case, but they are ones to provide students
13 have to send him my outcome cases. | only send Dean 13 information about proceedings.
14 Strauss the cases that -- my cases when | invite the 14 Q. Andis this --
15 student to meet with them to make him aware of the 15 A. And policies.
16 charges, but | don't share the outcome with him. 16 Q. I'msorry.
17 Q. Okay. So would you say this was unusual that you were 17 A. Go ahead.
18 in this role and sending the information you collected 18 Q. | didn't hear the last part of your answer.
19 to Dean Chadwell? 19 A. Sorry. They -- I just repeated what | said that they
20 MR. PORTER: Objection, form. 20 informed students about procedural matters and
21 A. I don't know about unusual, but it was because of the 21 policies.
22 nature of the timing of my starting there, it would 22 Q. Andin this case, did you refer my client to the
23 have been one of the first cases I would have done 23 office of the ombudsman?
24 that with just by the pure nature of me being there at 24 A. No, because | wasn't required to.
25 that time. 25 Q. And that was because it wasn't -- there were no

 

 

 

 

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1 charges -- 1 A. I would never say that. | don't -- | don't ever

2 A. Correct. 2 remember saying that. Typically, | ask the students

3 Q. -- it was just a concerning behavior matter? 3 to come and meet with me, and then | discuss the

4 A. Correct. 4 concerning behavior that was reported in front of

5 Q. Okay. Based on your training, is a matter of 5 them.

6 concerning behavior more serious or less serious than 6 Q. Between the time that you spoke with the complainant

7 charges being leveled at a student? 7 and you spoke to my client, did you do any independent

8 MR. PORTER: Objection, form. 8 investigation to either verify or contradict either

9 A. It depends on the situation. I've had it where the 9 person's statement?

10 concerning behavior could be worse based on the 10 MR. PORTER: Objection, asked and answered.

11 students that respond -- excuse me, the student's 11 You may answer.

12 behavior in the classroom could have been a little 12 A. Okay. So when the complainant stated that text

13 more dangerous versus conduct charges, where some 13 messages were sent, | noticed that | couldn't open

14 conduct charges could have been less. So I've seen 14 them, so | did request that they be sent to me again,

15 both. 15 and also, when the complainant made her statements in

16 BY MR. FLORES: 16 the complaint, itself, | verified that what was said,

17 Q. Did Mr. -- did my client raise any questions with you 17 there was text messages to corroborate as --

18 that you could not answer? 18 corroborate as she indicated to see that they matched

19 A. If there were any questions about medical school 19 up.

20 stuff, | would not be able it answer, but | don't 20 And then waiting, then, I waited to speak

21 recall him asking me that. But if he were to ask me 21 to the respondent to confirm that he was in a text

22 anything about conduct, | would have definitely 22 message Situation with the complainant to confirm that

23 answered it for him, and especially if he asked me can 23 these were sent by him, as well. So that's -- that's

24 he -- he asked if he could include an apology letter. 24 all I did is just to confirm that text messages were

25 | said absolutely you can include that. | informed 25 sent between the two parties.

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1 him he can provide me a statement after our meeting, 1 Q. Did you do any work to confirm or disprove any of the

2 and he said he would, and | answered questions about 2 allegations pertaining to hacking of my client's

3 how he could send that to me by email. So that's what 3 computers?

4 I can recall at that time. 4 A. No, because that's not my expertise, and I recall the

5 Q. Did you share with him at any point in your meeting 5 respondent mentioning that and us talking about what

6 that you believed this was a very serious case? 6 he did in terms of reporting it to other parties such

7 A. I don't recall using that word, no. 7 as C&T or Apple, | think it was Apple at the time

8 Q. Do you remember -- do you recall what word you might 8 that he was consulting with, and so I -- because

9 have used to describe this case? 9 that's not my expertise. So | would ask them did they

10 A. I don't think | would have described it. | would have 10 do any work to see who may have hacked them? And then

11 said "concerning behavior" because, again, it wasn't 11 also with the police.

12 for me to make a determination. So | don't know that 12 Q. Okay. And do you know whether or not Wayne State

13 | would have made a value judgment on the type of case 13 Police Department or Wayne State's Computer Science

14 or the seriousness of it. 14 Department have forensic specialists that could have

15 Q. Do you remember having a conversation with him at the 15 done that investigation?

16 beginning where he asked you why you had not answered 16 MR. PORTER: Objection, form.

17 his emails? 17 A. | don't know. | -- our C&T office is always willing

18 A. Possibly. It was so long, | -- | may have told him 18 to help students. So if someone has questions about

19 similar to what | told you where, again, it's not my 19 internet and technologies, they could answer basic

20 intention to ignore students. 20 questions, and then if something's happening on

21 Q. Do you remember telling him that you didn't provide 21 campus, they could look into it, but something

22 any information because that was your -- your typical 22 external, that would assume that the police would need

23 strategy, you waited until someone came to your office 23 to be involved. It was, like, an outside source,

24 and then you confronted them in person to see if you 24 like, somebody else -- like a Snapchat, which was

25 could shake their story? 25 mentioned, and someone's phones. | would assume that
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1 A. That's not what | said. 1 messages that I should have included. Some of it may
2 MR. FLORES: I'll withdraw it. 2 have been repeated, but all of them should have been
3 BY MR. FLORES: 3 there.

4 Q. Is there a reason that you waited so late to contact 4 Q. After you sent the report to Dean Chadwell, did you

5 my client and ask to meet with him? 5 have any direct communication with her by telephone or

6 A. No, it would have just been my scheduling because | 6 in person?

7 have my calendar, and if I -- my calendar is booked, 7 A. No, because my role was done.

8 then I would have delayed the meeting, but there was 8 Q. Did you ever talk with Dean Jackson at the medical

9 no ill intent to delay the meeting at all. 9 school?

10 Q. And you submitted that report on December 4th, 2018; 10 A. Not about this case, nope.

11 is that correct? 11. Q. How about Dean Richard Baker?
12 A. Yeah, that's the date on the report. 12 A. No.

13 Q. And do you remember what day of the week that was? 13 Q. Did you ever speak with Loretta Robichaud about this
14 A. I don't. | would have to check the calendar; I don't 14 case?

15 remember. 15 A. No.

16 Q. Do you remember if you worked the full month of 16 Q. Did you ever talk to Jane Doe's mother?

17 December? 17 A. No, I did not.

18 A. What do you mean? Like was | in the office? 18 Q. Do you know whether or not Jane Doe provided

19 Q. Were you in the office? Did you take off for 19 information to anyone at the university?

20 Christmas break? 20 A. I don't. | just -- what | know is | got the -- we

21 A. I believe | was, I -- all of us have the same 21 reviewed the complaint, so I don't know what else

22 Christmas break at Wayne State, so it would have 22 happened after that. After | submitted my report, 'm
23 started on the 23rd or 22nd, because | usually take my 23 not involved in the case.

24 time off when most students take time off. So that 24 Q. When you joined Wayne State your first year, you were
25 would have been that week where we get off for Wayne 25 a student conduct officer, not a Title IX

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1 State. 1 investigator; is that correct?

2 Q. Allright. Now, how did you transmit your report to 2 A. Yes.

3 Dean Chadwell? 3 Q. Nevertheless, did there come a time that you became

4 A. Maxient. 4 aware that there was an investigation by the

5 Q. And he is not at the university but in the medical 5 Department of Education's Office of Civil Rights of

6 school; is that correct? 6 the WSU Medical School for retaliation against a

7 MR. PORTER: Objection, form. 7 female student?

8 BY MR. FLORES: 8 A. It may have been spoken about in front of me in the

9 Q. Do you know where Dr. Chadwell works? 9 meetings that I was, but | was never part of that

10 A. Yeah, if you look at her letterhead -- if you look at 10 discussion and had no knowledge of the proceedings.
11 the letter, it says that she's at the University 11 Q. AsaTitle IX investigator, though, are you aware that

12 School of Medicine. 12 an investigation by the Office of Civil Rights is a

13 Q. And so that system can send information from the Dean 13 serious matter?

14 of Students Office anywhere in the university; is that 14 MR. PORTER: Objection, form.

15 correct? 15 A. Yes, | am aware.

16 A. The Maxient software has email capabilities, and then 16 BY MR. FLORES:

17 you can send emails to anybody that you choose to send 17 Q. And during your time working for WSU in any capacity,
18 emails to. 18 did you ever have an occasion to speak to an

19 Q. And that's how you communicated, and that's how you 19 investigator from the Office of Civil Rights from the

20 sent this particular report? 20 Department of Education?

21 A. Yes. 21 A. No.

22 Q. And did that report include the attachments, the text 22 Q. Are you aware that at the conclusion of the Office For

23 messages? 23 Civil Rights’ investigation, they found by a

24 A. Yes, it should have included everything. | believe it 24 preponderance of the evidence that the School of

25 did. There should be about 11 to 12 pages of text 25 Medicine had, in fact, retaliated against that female

 

 

 

 

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1 medical student by expelling her? 1 off-camera discussion. | can't do that until Friday
2 MR. PORTER: Objection, form. 2 since I'm going to apparently do -- I'm going to be
3 A. No, I don't know the details of the case. 3 handling the deposition tomorrow. So I've got to get
4 BY MR. FLORES: 4 preparing for that, but if we can set aside, if you
5 Q. Did you ask -- did you ever ask the complainant for an 5 can let me know Friday what might work for you in
6 opportunity to speak to her mother or her father? 6 terms of a call or maybe with you and Ms. Hardy, that
7 A. No. 7 would be good.
8 Q. And even though she stated in her complaint that she 8 MR. PORTER: Yeah, that sounds good, we'll
9 had recently talked to her parents about this matter, 9 set it up.
10 you made no effort to speak to them? 10 MR. FLORES: Thank you very much. Do you
11 A. No, 1 did not contact the parents. 11 need any other information from me, Leisa?
12 Q. Because there was no charge in this case for you to 12 COURT REPORTER: Just your transcript
13 investigate, and my client was being -- the inquiry 13 orders. Did you want to order the transcript?
14 focused on concerning behavior, did my client have an 14 MR. FLORES: Yes.
15 obligation under the school conduct code to meet with 15 COURT REPORTER: And did you need this
16 you? 16 expedited?
17 A. Again, this was not a conduct matter so -- 7 MR. FLORES: As quickly as you can get it.
18 Q. So the answer would be no? 18 | don't know what your schedule is, so...
19 A. Right: 19 COURT REPORTER: On Friday?
20 Q. Did you tell him that he had no obligation to meet 20 MR. FLORES: That's great.
21 with you? 21 COURT REPORTER: Did you want a copy,
22 A. No, I don't typically say that to students, they have 22 Mr. Porter?
23 no obligation. That's just not language that | use. 23 MR. PORTER: You know what, | need to
24 Q. Well, is there some language that you could use to 24 follow up with you on that. I'll be in touch.
25 communicate that? 25 (The deposition was concluded at 2:33 p.m.
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1 A. It's just not something that I -- I do. 1 Signature of the witness was not requested
2 Q. Ofcourse not. 2 by counsel for the respective parties
3 A. Right. 3 hereto.)
4 Q. Because if you told them that, they didn't need to 4
5 come and talk with you, many of them would not; is 5
6 that right? 6
7 MR. PORTER: Objection, calls for 7
8 speculation. 8
9 MR. FLORES: Withdrawn. 9
10 BY MR. FLORES: 10
11 Q. And your testimony is that after you submitted that 11
12 report on December 4th, you had no further contact or 12
13 anything to do with this case, and you had no 13
14 conversations with anyone, including anyone in the 14
15 general counsel's office or counsel for the 15
16 university? 16
17 A. Yeah, | had no further involvement in the case. | 17
18 don't even know what was decided or the outcome. So 18
19 I, again, | was only there to investigate. 19
20 MR. FLORES: Okay. All right, well, 20
21 Ms. Camaj, | -- this is a serious matter, and if | was ?1
22 a little too aggressive, | apologize, | didn't mean to 22
23 do that; it's the nature of the process sometimes. 23
24 David, | want to thank you for your 24
25 cooperation here. We should probably have an 25
scheduling @fortzlegal.com fortzlegal.com Toll Free: 844.730.4066
